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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DEL ARE
                                                     L1iOCi 7 PM q:L5
In re:                                        ) Chapter 11

W. R. GRACE & CO., et al., 1                                   ) Case 96101J139(JKF.)
                                                               ) (Jointly Administered)
                          Debtors.                             )
                                                               ) Hearing Date: November 28, 2011, at 9:00 a.m.
                                                                  Objection Deadline: November 4,2011


 DEBTORS’ MOTION FOR ENTRY OF AN ORDER: (I) APPROVING AGREEMENT;
(II) AUTHORIZING, BUT NOT DIRECTING, THE DEBTORS TO MERGE CERTAIN
NON-OPERATING DEBTOR SUBSIDIARIES INTO W. R. GRACE & CO.-CONN.; (III)
EXPUNGING CERTAIN ACTIVE CLAIMS, CONDITIONALLY EXPUNGED CLAIMS
  AND INTERCOMPANY CLAIMS; AND (IV) TRANSFERRING CERTAIN ACTIVE
        AND INTERCOMPANY CLAIMS TO W. R. GRACE & CO.-CONN.

         The above-captioned debtors and debtors in possession (the "Debtors") respectfully

request the Court (the "Motion") enter an order substantially in the form attached hereto as

Exhibit A (the "Order "): 2


    The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W.
    R. Grace & Co.-Conn., A-i Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coaigrace, Inc., Coalgrace II, Inc.,
    Creative Food N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a
    Grace Cocoa Limited Partners I, Inc.), 0 C Management, Inc. (f/Ida Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn. International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Oracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/lda GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MIRA Holdings
    Corp. (f/Ida Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/Ida Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/Ida Cross Country
    Staffing), Hayden-Gulch West Coal Company and H-G Coal Company.
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    Capitalized terms not defmed herein shall have the meaning ascribed to them in, as the case may be,
    Declaration of Elyse Filon Supporting the Debtors’ Motion for Entry of An Order: (i) Approving Agreement,
    (ii) Authorizing, but not Directing, the Debtors to Merge Certain Non-Operating Debtor Subsidiaries into W. R.
    Grace & Co.-Conn.; (iii) Expunging Certain Active Claims, Conditionally Expunged Claims and Intercompany
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        Authorizing, but not requiring, the Debtors to enter into the Agreement and Plan of
        Merger (the "Agreement"), the form of which is attached hereto as Exhibit Ito the Order.
        The Agreement provides for merging certain Debtors set forth in the Schedule of Merging
        Subsidiaries (the "Merging Subsidiaries"), attached hereto as Exhibit II to the Order, into
        Debtor Grace-Conn. on the terms and conditions set forth in the Agreement, and
        consummate the transactions contemplated thereby (the "Merger"); 3

        Approving the Merger and authorizing, but not requiring, the Debtors to take all actions
        necessary or advisable to consummate the Merger;

        Authorizing and directing the Claims Agent to expunge certain of the Claims (as defined
        in the Plan) listed by the Claims Agent as active on the claims register (the "Active
        Claims") Filed against each of the Merging Subsidiaries as set forth in Exhibit III to the
        Order (the "Expunged Claims") with the proviso that the rights afforded each Claimant
        (as defined in the Plan) in its respective Claim shall be preserved in the surviving Claim
        (each, a "Surviving claim") against Grace-Conn. or such other Debtor as is listed in
        Exhibit III to the Order, and with the further proviso that such preservation shall not
        affect the rights of the Debtors to object to any such Surviving Claim to the extent that it
        has not already been Allowed;

        Authorizing and directing the Claims Agent to expunge each of the conditionally
        expunged Claims (the "Conditionally Expunged Claims") Filed against each of the
        Merging Subsidiaries as set forth in Exhibit IV to the Order, with the proviso that the
        rights afforded each Claimant in its respective Claim shall be preserved in the
        corresponding Surviving Claim against Grace-Conn. or such other Debtor as is listed in
        Exhibit IV to the Order, and with the further proviso that such preservation of Claimants’
        rights shall not affect the rights of the Debtors to object to any such Surviving Claim to
        the extent that it has not already been Allowed; 4

        Authorizing and directing the Claims Agent to expunge each of the scheduled
        intercompany claims set forth in Exhibit V to the Order (the "Expunged Intercompany


    Claims; and (iv) Transferring Certain Active and Intercompany Claims to W. R. Grace & Co.-Conn.                    (the
    "Declaration"), filed contemporaneously herewith, the Recommended Findings of Fact, Conclusions of Law and
    Order Regarding Confirmation of First Amended Joint Plan of Reorganization as Modified Through December
    23, 2010, Docket no. 26155 (the "Confirmation Order"), the Debtors’ Disclosure Statement for the First
    Amended Joint Plan of Reorganization Under Chapter 11 of the Bankruptcy Code of W. R. Grace & Co., et al.,
    the Official Committee of Asbestos Personal Injury Claimants, the Asbestos P1 Future Claimants’
    Representative, and the Official Committee of Equity Security Holders Dated As of February 27, 2009, Docket
    no. 20873 (the "Disclosure Statement"), or the First Amended Joint Plan of Reorganization in their Chapter 11
    Cases, Docket no. 25881, as it may be further amended, supplemented or otherwise further amended from time
    to time, and the schedules and exhibits to the foregoing, as they may be in effect from time to time (the "Plan").

    When W. R. Grace & Co. is referred to individually, it is referred to as the "Parent." When W R. Grace & Co.-
    Conn is referred to individually, it is referred to as "Grace-Conn." The Debtors may collectively be referred to
    as "Grace" in the context of their entire businesses.
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    As discussed below in n. 8, the Court entered orders conditionally expunging each of these Claims.
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       Claims," which together with the Surviving Intercompany Claims (as defined below) are
       the "Intercompany Claims").

        Authorizing and directing the Claims Agent to list Grace-Conn. as having assumed: (a)
        the benefit of surviving Intercompany Claims (the "Surviving Intercompany Claims")
        that Merging Subsidiaries hold against other, non-merging Debtors; and (b) the burden of
        Surviving Intercompany Claims against Merging Subsidiaries; each of which Surviving
        Intercompany Claims is listed in Exhibit VI to the Order.

        In view of the pending appeal of the Confirmation Order, the Debtors respectfully

request, however, that the chapter 11 cases of each of the Merging Subsidiaries remain open until

after the Effective Date. 5

        Finally, Exhibit VII to the Order lists certain non-Debtor subsidiaries that Grace also

intends to merge into Grace-Conn. as part of Grace’s ongoing global initiative to simplify its

corporate structure. As set forth in Exhibit VII, and similar to the Merging Subsidiaries, none of

these non-Debtor entities has any assets, nor do they have any liabilities other than a single

intercompany claim held by Grace-Conn. against a single entity. Grace will eliminate this

intercompany claim for accounting purposes upon merger. See also Filon Declaration at ¶ 14.

        In support of this Motion, the Debtors respectfully state as follows:

                                               JURISDICTION

        1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this

Court under 28 U.S.C. §§ 1408 and 1409.

        2.       The predicates for this Motion are Bankruptcy Code sections                105, 363, 502 and

Fed. R. Bankr. P. 1015, 3007, 6004, 7062 and 9014 and Del. I3ankr. L. R. 3007-1.




    The Debtors will be providing further information to the professionals retained by the Committees and FCRS,
    including copies of the detailed third-party and intercompany claim analyses.


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                                                BACKGROUND

I.           The Proposed Merger

             3.      The form of Agreement is attached to the Order as Exhibit I. The Agreement

      contemplates merging each of the Merging Subsidiaries into Grace-Conn. Under relevant state

      law, Grace-Conn. will acquire all assets and liabilities of the Merging Subsidiaries. As permitted

      by applicable law, the Agreement:

             Cancels the stock and partnership interests of the Merging Subsidiaries; and

      .      Will not affect Grace-Conn.’s stock, certificate of incorporation and board of directors
             and officers as a result of the Merger.

             4.      The Debtors request, however, that the Order provide them with the authority to

      revise, amend or otherwise change the Agreement to the extent necessary to meet the

      requirements of the jurisdictions in which the Merging Subsidiaries were incorporated or

      otherwise formed. These changes may include effecting the Merger by one or more similar, but

      separate, merger agreements for particular jurisdictions, in which event such merger agreements

      taken as a whole shall be deemed to be the "Agreement" for all purposes of this Motion.

II.          Grace-Conn. Is The Chief Operating Company For Grace’s Domestic Business

             5.      As set forth in more detail in the Disclosure Statement and in the Filon

      Declaration   (1JJ 1-4), Parent is a publicly traded global holding company that conducts
      substantially all of its business through Grace-Conn., its direct wholly-owned subsidiary. Grace-

      Conn owns substantially all of Grace’s United States assets, properties, and rights directly or

      through subsidiaries.

             6.      Parent and 61 of its direct or indirect U.S. subsidiaries, including Grace-Conn.

      and the Merging Subsidiaries, are Debtors in these chapter 11 cases. None of the Merging

      Subsidiaries conducted any material business operations with any third party for at least several


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   years prior to the Petition Date, and in most cases since the sale or termination of their businesses

   in the 1980’s and 1990’s. None of the Merging Subsidiaries has conducted any material business

   operations since the Petition Date.

              7.      Grace’s two major U.S. operating segments, Grace Davison and Grace

   Construction Products ("GCP"), are owned and operated by Grace-Conn. Grace-Conn. employs

   substantially all of the Debtors’ approximately 2,600 U.S. employees. Grace-Conn. also owns or

   leases substantially all of GCP’s and Grace Davison’s approximately 30 U.S. operating facilities

   and other real property. In addition, Grace-Conn. is the only Debtor that is party to the L/C

   Facility.

              8.      The Plan consolidates all of the Claims against the Debtors into a single set of

   Classes, with all similarly situated Claims receiving the same treatment, regardless of Debtor.

   The Plan likewise contemplates using Grace-Conn. ’s assets to satisfy all such Claims, whether

   prepetition or Administrative Expense Claims. Plan at 43-56 (Plan classification and distribution

       schemata). As discussed below, none of the Merging Subsidiaries has any significant assets; and

       in any event, such assets will be transferred to Grace-Conn. in the Merger.   See also, Exhibit II;

       Motion, § IV, infra.

III.          The Proposed Merger Will Benefit the Debtors’ Estates

              9.      Eliminating the Merging Subsidiaries will benefit the Debtors’ ongoing business

       operations in several ways. Filon Declaration at ¶J 5-7. Such benefits include:

              Reducing Administrative Burden and Expense.

               10.    The Debtors must allocate resources and funds to managing the Merging

       Subsidiaries. For example, Grace must annually file more than 100 tax and other returns, reports

       and other filings for the Merging Subsidiaries, including more than sixty state and federal tax

       returns. Each Merging Subsidiary that is a corporation must file annual or other periodic reports

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  and pay related fees in its state of incorporation, and a number of Merging Subsidiaries must pay

  franchise taxes in their states of incorporation even though they conduct no business and have no

  income. There are also a number of Merging Subsidiaries that are qualified to transact business

  as foreign corporations in other states, which requires them to file periodic reports and pay filing

  fees. Although the Debtors do not believe that any of these Merging Subsidiaries is legally

  required to maintain their respective qualifications as foreign corporation, the relevant states

  have not to date permitted them to withdraw their qualifications because they are chapter 11

  debtors.

             11.     The proposed Merger is also part of a worldwide Grace initiative to simplify its

  corporate structure and eliminate unnecessary complication and expense..

             Optimizing Corporate Structure in Preparation for Exit Financing.

             12.     The Debtors anticipate entering into financing arrangements at exit in order to

  provide a source of funding for Claims payment under the Plan. Eliminating the Merging

      Subsidiaries prior to negotiating the exit financing will enable the Debtors and their lenders to

      structure the financing based upon a greatly simplified corporate structure. The Debtors

      anticipate that failing to eliminate the Merging Subsidiaries before commencing exit financing

      negotiations will only complicate those negotiations and further complicate the concomitant exit

      financing documentation. If the Debtors were to wait until after emergence to merge the

      Merging Subsidiaries out of existence, they would have to amend the exit financing

      documentation, which could entail needless additional time and costs Eliminating the Merging

      Subsidiaries now would avoid such complications, costs and delays.

IV.          Creditors Will Not Be Prejudiced By the Proposed Merger

              13.     As discussed in the Filon Declaration (at   ¶IJ 8-9), and as summarized for each
      Merging Subsidiary in the Schedule of Merging Subsidiaries, attached as Exhibit II to the Order:

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               The total number and amount of Intercompany Claims that each such entity has against
               other Debtors and non-Debtor Grace entities;

               Intercompany Claims that other Debtor entities have against the Merging Subsidiary;

               The total number and amount of other scheduled and Filed Claims against the entity;

               The total number of Asbestos Personal Injury and Property Damage Claims against the
               entity; and

               Whether that entity has any assets other than Intercompany Claims, and if so, the nature
               of those assets.

 The Schedule shows that only three Merging Subsidiaries have assets other than Intercompany

 Claims. None of those assets has any significant value. 6 In each case, Grace-Conn. will hold the

 assets of the Merging Subsidiary after the Merger.

                14.     Grace has also ascertained (based on lien searches, review of books and records or

     otherwise):

               That there are no known liens asserted against any of the Merging Subsidiaries other than
               those previously disclosed concomitant with the commencement of these chapter 11
               cases; and

               There are no known post-petition lawsuits or other post-petition claims against the
               Merging Subsidiaries.

V.              Expunging Claims Filed Against Merging Subsidiaries and Specifying Surviving
                Claims Against Grace-Conn. or Another Debtor

                15.     As discussed in the Filon Declaration (at ¶J 10-12), Grace and its advisors

     performed a detailed analysis of every third-party Claim Filed or scheduled against each

     Merging Subsidiary. In particular, Grace and its advisors analyzed whether there were any third-

     party Claims or other issues that would preclude the Merging Subsidiaries from merging into

     Grace-Conn. as contemplated by this Motion.


     6
         One entity, CC Partners, has a minor amount of cash in its corporate bank account. The Debtors do not believe
           that eliminating CC Partners and moving the cash to Grace-Conn. will measurably affect Claimants’ rights
           under any foreseeable process of exiting from these chapter 11 cases.


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         16.     Based upon that analysis, the Debtors have concluded that none of the Merging

Subsidiaries have any third-party Claims against them that would preclude their being eliminated

by merger into Grace-Conn. Many such third-party Claims will, however, become redundant as

a result of the proposed Merger. The Debtors therefore request the Court expunge all such

redundant Claims on the terms set forth below.

         17.     Grace and its advisors also analyzed all Intercompany Claims to determine

whether there are any issues that would prejudice one Debtor over another as a result of

eliminating the Merging Subsidiaries. The Expunged Intercompany Claims will become

redundant by function of the proposed Merger, because each Intercompany Claim either is

between Grace-Conn. and the Merging Subsidiary being merged into Grace-Conn., or between

two Debtor Subsidiaries which both are being merged into Grace-Conn. The Surviving

Intercompany Claims will remain in place, because either the Surviving Intercompany Claim is

held by a Merging Subsidiary against a Debtor that is not being merged into Grace-Conn. (or in a

rarer case, against a non-Debtor subsidiary of Grace-Conn.), or because a surviving Debtor holds

that Intercompany Claim against a Merging Subsidiary. In either case, Grace-Conn. will assume

the benefit or burden, as the case may be, of the Surviving Intercompany Claim.

         18.     The treatment of each affected Claim is set forth in one of the exhibits to the

Order:

         Exhibit III to the Order lists the Active Claims against various Merging Subsidiaries that
         will become Expunged Claims and the corresponding Surviving Claim. The Order
         preserves the rights of the Claimants through the Surviving Claims.

         Exhibit III to the Order also lists Active Claims against various Merging Subsidiaries that
         are "Active Claims" on the claims register for which there is no corresponding Claim
         against Grace-Conn. or another Debtor. The Order states that each such Claim shall be
         deemed to have been Filed against Grace-Conn., which will result in no change to the
         Claimant’s rights pursuant to that Claim.



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       Exhibit IV to the Order lists the Conditionally Expunged Claims, each of which will
       become redundant as a result of the proposed Merger, and therefore permanently
       expunged. Each such Conditionally Expunged Claim has a corresponding Surviving
       Claim listed in Exhibit TV.7

       Exhibit V to the Order lists the Expunged Intercompany Claims, all of which will become
       redundant as a result of the proposed Merger.

       Exhibit VI to the Order lists the Surviving Intercompany Claims, each of which Grace-
       Conn. will assume.

        19.     The Debtors submit that the foregoing mechanism to expunge redundant Claims

and transfer certain other Claims to Grace-Conn. satisfies the requirements of Fed. R. Bankr. P.

3007 and Del. Bankr. L. R. 3007-1 regarding the expunging of claims from a debtor’s claims

register. The Debtors further submit that the notice requirements of the foregoing rules have

been satisfied by the notice given to Claimants holding the Claims listed in each of Exhibits III

& IV to the Order.

                                           RELIEF REQUESTED

        20.     The Debtors respectfully request the Court enter the Order:

        Authorizing, but not requiring, the Debtors to, enter into the Agreement, and consummate
        the transactions contemplated thereby, and directing the Debtors to undertake all actions
        necessary to consummate the foregoing;

        Approving the elimination of the Merging Subsidiaries;

        Expunging or transferring Active Claims on Exhibit III to the Order, with the proviso that
        the rights afforded each Claimant in its Expunged Claim shall be preserved in the


    The current status of the Conditionally Expunged Claims is set forth in the following documents: Order
    Disallowing and Expunging Certain of the Claims of G-I Holdings, Inc. and Its Affiliates,   entered at docket
    number 15075 on April 3, 2007; Stipulation Consolidating Claims of the CNA Companies,       entered at docket
    number 12248 on April 17, 2006; Stipulation Resolving Certain Claims of JPMorgan Chase Bank, entered at
    docket number 14455 on January 31, 2007; Order Disallowing and Expunging Certain of the Claims of
    Fresenius Medical Care Holdings, Inc. and Its Affiliates, entered at docket number 14892 on March 19, 2007;
    Order Approving Stipulation Resolving Certain of the Claims of Century Indemnity Company, et al., entered at
    docket number 15077 on April 3, 2007; Order Disallowing and Expunging Certain of the Claims of Seaton
    Insurance Company and OneBeacon America Insurance Company, entered at docket 15503 on May 3, 2007;
    and Order Disallowing and Expunging Certain Claims and Reducing Certain Other Claims of the Internal
    Revenue Service, entered at docket 16366 on July 24, 2007.
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       corresponding Surviving Claim against Grace-Conn. or such other Debtor as is listed in
       Exhibit III to the Order;

       Permanently expunging the Conditionally Expunged Claims on Exhibit IV to the Order,
       with the proviso that the rights afforded each Claimant in its Expunged Claim, shall be
       preserved in the corresponding Surviving Claim against Grace-Conn. or such other
       Debtor as is listed in Exhibit IV to the Order

       Expunging each of the Expunged Intercompany Claims set forth in Exhibit V; and

       Transferring the Surviving Intercompany Claims (listed in Exhibit VI to the Order) to
       Grace-Conn.

                                             ANALYSIS

I.     ELIMINATING THE MERGING SUBSIDIARIES BENEFITS THE DEBTORS AND THEIR
       ESTATES

       21.     Section 363(b) of the Bankruptcy Code provides, in relevant part, that "the

trustee, after notice and a hearing, may use, sell, or lease, other than in the ordinary course of

business, property of the estate." 11 U.S.C. § 363(b). Courts in this jurisdiction may approve

such use of estate property outside the ordinary course of business if the debtor establishes that:

               (1) a sound business purpose exists for the sale; (2) the sale price is
               fair; (3) the debtor has provided adequate and reasonable notice;
               and (4) buyer has acted in good faith.

In re Decora Indus., 2002 U.S. Dist. LEXIS 27031, 7-8 (D. Del. May 20, 2002) (citing In re

Delaware & Hudson Ry. Co., 124 B.R. 169, 176 (0. Del. 1991)); see also In re Abbotts Dairies

of Pennsylvania, Inc., 788 F.2d 143 (3d Cir. 1986); In re Lionel Corp., 722 F.2d 1063, 1071 (2d

Cir. 1983); In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D. Del. 1999) ("In

evaluating whether a sound business purpose justifies the use, sale or lease of property under

Section 363(b), courts consider a variety of factors, which essentially represent a ’business

judgment test’."); Fulton State Bank v. Schipper, 933 F.2d 513, 515 (7th Cir. 1991) ("a debtor’s

decision must be supported by an articulated business justification");        Stephen Indus., Inc. v.




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McClung, 789 F.2d 386,390 (6th Cir. 1986) (adopting the "sound business purpose" standard for

sales proposed pursuant to section 363(b)).

       22.     Once the debtor has articulated such a valid business purpose, however, a

presumption arises that the debtor’s decision was made on an informed basis, in good faith and

in the honest belief that the action was in the debtor’s best interest. See In re Integrated

Resources, Inc., 147 B.R. 650, 656 (S.D.N.Y. 1992). A party-in-interest seeking to challenge the

debtor’s valid business purpose must "produce some evidence supporting its objections."

Montgomery Ward, 242 B.R. at 155.

       23.     As set forth in the Filon Declaration, consummating the transactions contemplated

by the Agreement and merging the Merging Subsidiaries into Grace-Conn. will:

       Reduce operating expenses and administrative burdens by reducing tax and other
       reporting requirements; and

       Materially aid in optimizing Grace’s corporate structure in preparation for entering into
       exit financing arrangements.

The Debtors submit that these benefits more than adequately demonstrate that the Debtors have a

valid business purpose in eliminating the Merging Subsidiaries prior to the Effective Date.

II. THE COURT MAY APPROVE THE AGREEMENT AND THE MERGER CONTEMPLATED
      THEREBY

       24.     It is axiomatic that a court may approve a chapter 11 plan’s proposed substantive

consolidation without further inquiry if the affected creditors consent to such relief. In re Owens

Corning, 419 F.3d 195, 210 (3rd Cir. 2005) (noting the debtors were required to prove

substantive consolidation only "absent consent"). It is equally axiomatic that this Court may

approve the Agreement and the transactions contemplated thereby because the Plan provides for

classifying Claims and making Distributions to creditors on a consolidated basis, and each voting




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class consented to the Plan. Confirmation Order at 3-4 (Plan acceptance by each voting class);

Plan at 43-56 (Plan classification and distribution schemata).

         25.   Moreover, and equally as important, merging the Merging Subsidiaries into

Grace-Conn. will not substantively affect the rights to recovery of any Claimantswhether those

with Claims against Grace-Conn. or those with Claims against one or more of the Merging

Subsidiaries. As set forth in the Filon Declaration, the Debtors undertook a detailed, Claim-by-

Claim analysis. As the Filon Declaration concludes, no creditor of any Merging Subsidiary is

prejudiced by the proposed Merger. Likewise, creditors of Grace-Conn. are not materially

prejudiced by the proposed entity elimination under any scenario, whether when the Plan is

consummated or otherwise. Filon Declaration at IT 8-12.

         26.   The Debtors therefore request the Court enter the Order approving the Agreement,

merging the Merging Subsidiaries into Grace-Conn., expunging redundant Claims and

transferring other Claims to Grace-Conn.

                                     No PREVIOUS MOTION

         27.   No previous motion for the relief sought herein has been made to this or any other

court.

                                             NOTICE

         28.   Notice of this Motion has been given to: (i) the Office of the United States

Trustee; (ii) counsel to the L/C Facility Agent and L/C Issuers; (iii) counsel to JP Morgan Chase

Bank N.A. as agent for the Debtors’ prepetition lenders; (iv) counsel to each of the official

committees appointed in these Chapter 11 Cases; (v) counsel to the Asbestos Personal Injury and

Asbestos Property Damage Future Claimants’ Representatives; (vi) those parties that requested

service and notice of papers in accordance with Fed. R. Bankr. P. 2002; (vii) each secretary of

state, taxing authority, environmental agency and other governmental agency for each

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jurisdiction in which it is known that the Merging Subsidiaries are incorporated, operated in the

past or currently own assets such as land; and (viii) each party having one or more Claims listed

in the Exhibits. In light of the nature of the relief requested, the Debtors submit that no further

notice is required.

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       WHEREFORE, the Debtors respectfully request the Court enter the Order: (i) approving the

Agreement and the merger of the Merging Subsidiaries into Grace-Conn.; (ii) expunging certain

Active Claims, Conditionally Expunged Claims and Expunged Intercompany Claims; (iii)

transferring certain Active Claims and Surviving Intercompany Claims to Grace-Conn.; and (vi)

granting such other relief as may be appropriate.

Dated: October 17, 2011                             KIRKLAND & ELLIS LLP
                                                    Adam Paul
                                                    John Donley
                                                    300 North LaSalle Street
                                                    Chicago, IL 60654
                                                    (312) 862-2000

                                                    and

                                                    BAER HIGGiNS FRUCHTMAN LLC
                                                    Janet S. Baer
                                                    Roger J. Higgins
                                                    111 East Wacker Drive
                                                    Suite 2800
                                                    Chicago, IL 60601
                                                    (312) 836-4047

                                                    and

                                                    PACHULSKJ STANG ZIEHL & JONES LLP



                                                    Lauta DaviJones            . 2436)
                                                    James E. O’Neill ;No,     .442)
                                                    Kathleen P. Mako       B       o. 3648)
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